Case 2:21-cv-06689-RGK-JC Document 139 Filed 09/23/22 Page 1 of 4 Page ID #:2456




  1   VICTOR SHERMAN (SB 38483)
      victor@victorsherman.law
  2   DIANA SPIELBERGER (SB 109967)
      diana@janddlaw.com
  3   JAY STATMAN (SB 94470)
      jay@janddlaw.com
  4   LAW OFFICES OF VICTOR SHERMAN
      11400 W. Olympic Blvd., Suite 1500
  5   Los Angeles, CA 90064
      Telephone: (310)399-3259
  6   Fax: (310)392-9029

  7   ROBERT KLEIN (SBN 128550)
      robert@kleinlitigation.com
  8   8383 Wilshire Blvd., Ste. 935
      Beverly Hills, CA 90211
  9   (833)997-5529

 10
      Attorneys for Defendants
 11
 12                         UNITED STATES DISTRICT COURT

 13                       CENTRAL DISTRICT OF CALIFORNIA

 14
      MICHAEL ANDREW ROBINSON, ) Case no. 2:21-cv-06689-RGK-(JCx)
 15   an individual; GRABBA LEAF, LLC, )
      a Florida limited liability corporation, ) Action commenced August 18, 2021
 16                                            )
                          Plaintiffs,          ) The Hon. R. Gary Klausner, Courtroom
 17                                            ) 850
                   vs.                         )
 18                                            ) Pre-trial Conference:
      BEST PRICE DISTRIBUTORS, LLC, ) October 24, 2022
 19   a California limited liability company, ) Jury Trial
      doing business as WESTERN                ) November 8, 2022
 20   WHOLESALE and as QUICK                   )
      TOBACCO WHOLESALE; KHALED ) DEFENDANTS’ MOTION IN LIMINE
 21   M. AHMED, an individual; and             ) NO. 6: TO EXCLUDE REFERENCE
      SANDRA S. CERVANTES, aka                 ) TO BAD FAITH ACTION AND
 22   SANDRA AHMED, and DOES 1-10, ) ALLEGED CLAIM OF ARSON
                                               )
 23                       Defendants.          ) Trial date:        Nov. 8, 2022
      _____________________________ ) Time:                         9:00 a.m.
 24                                            ) Courtroom:         850

 25
 26
 27
 28

                                               1
                       MOTION IN LIMINE #6 - REFERENCE TO BAD FAITH ACTION
Case 2:21-cv-06689-RGK-JC Document 139 Filed 09/23/22 Page 2 of 4 Page ID #:2457




  1            Defendants Best Price, LLC, Khaled Ahmed and Sandra Cervantes move in

  2   limine for an order excluding Plaintiffs Grabba Leaf, LLC, Michael Andrew

  3   Robinson, their counsel and any witness from attempting to present evidence, or

  4   referring in any manner, to irrelevant evidence regarding the case of Broadway

  5   Capital LLC v. Penn-Star Ins. Co., case no. CIV SB 2121789, and any suggestion by

  6   Plaintiffs that the defendant insurance carrier denied the claim because it suspects

  7   arson.

  8            This Motion is made following the conference of counsel pursuant to Local

  9   Rule 7-3, which took place on September 15, 2022.

 10            I. CHARACTER EVIDENCE IS INADMISSIBLE

 11            Defendants expect that Plaintiffs will attempt to impeach Ahmed by offering

 12   extrinsic, hearsay evidence regarding an alleged defense of arson in a bad faith

 13   action commenced by a company associated with Ahmed. That case is Broadway

 14   Capital LLC v. Penn-Star Ins. Co. (“Broadway Capital”), case no. CIV SB 2121789.

 15   Plaintiffs claim that in Broadway Capital, the defendant carrier asserted a defense of

 16   no coverage due to arson. That assertion is unsupported hearsay and improper

 17   character evidence.

 18            Character is a generalized description of a person's disposition, or of the

 19   disposition in respect to a general trait, such as honesty, temperance or peacefulness.

 20   United States v. Matias, 39 Fed. Appx. 550, 552 (9th Cir. 2002) citing McCormick

 21   on Evidence (5th ed. 1999). “‘Character evidence’ is evidence regarding someone's

 22   personality traits.” Black's Law Dictionary 576 (7th ed. 1999).

 23            Federal Rule of Evidence 608 states character evidence that consists of

 24   specific instances of bad conduct cannot be proven by “extrinsic evidence.” Rule

 25   608 prohibits the cross-examiner from introducing extrinsic evidence of the witness’

 26   past conduct. United States v. Abel, 469 U.S. 45, 55, (1984).

 27
 28

                                                   2
                          MOTION IN LIMINE #6 - REFERENCE TO BAD FAITH ACTION
Case 2:21-cv-06689-RGK-JC Document 139 Filed 09/23/22 Page 3 of 4 Page ID #:2458




  1         II. THE PROFFERED EVIDENCE IS IRRELEVANT, AND

  2         THERE IS NO GOOD FAITH BASIS THAT THE ACTS

  3         OCCURRED

  4         The existence of another matter in which Ahmed is involved is irrelevant.

  5   Whether a company in which Khaled is involved sued its carrier, and the defenses

  6   therein, have nothing to do with any issue in this matter.

  7         Moreover, Defendants could not seek to introduce the evidence (assuming it

  8   was not otherwise objectionable) without a good faith basis that the alleged conduct

  9   occurred. United States v. Mixon, No. CR1400631001TUCJGZ, 2015 WL

 10   13849032, at *4 (D. Ariz. Dec. 11, 2015). Plaintiffs have not produced a shred of

 11   evidence that the defendants in Broadway Capital rely on a defense of arson, let

 12   alone that Ahmed is somehow responsible for that arson. Indeed, the sole evidence

 13   in support of this claim arises from an allegation in the complaint that the insurance

 14   company was stalling while it conducted an arson investigation. There is no

 15   evidence of arson, let alone that Ahmed is responsible

 16         This is yet another example of Plaintiffs’ attempt to improperly bias the jury

 17   through unrelated alleged bad acts. It is not surprising that Plaintiffs do so, given

 18   that their prime claim that the goods purchased from Western Wholesale are

 19   counterfeit due to packaging differences, which has been thoroughly negated by

 20   Robinson’s contradictory sworn testimony. Regardless, it remains profoundly

 21   improper to permit Plaintiffs to attempt to influence the jury through such tactics.

 22           CONCLUSION

 23          For the foregoing reasons, the Motion should be granted.

 24   Dated: September 23, 2022               Respectfully submitted,

 25                                           JAY STATMAN
                                              LAW OFFICES OF VICTOR SHERMAN
 26
 27                                           By: /s/ JAY STATMAN
                                              Attorneys for Defendants
 28

                                                  3
                        MOTION IN LIMINE #6 - REFERENCE TO BAD FAITH ACTION
Case 2:21-cv-06689-RGK-JC Document 139 Filed 09/23/22 Page 4 of 4 Page ID #:2459




  1                          DECLARATION OF JAY STATMAN

  2         I, JAY STATMAN, declare as follows:

  3         1. I am an attorney licensed to practice in all courts of the State of California

  4   and in the United States District Court for the Central District of California. The

  5   following facts are personally known to me and if called upon, I could and would

  6   competently testify thereto.

  7         2. Attached hereto is a true and correct copy of the complaint filed in

  8   Broadway Capital LLC v. Penn-Star Ins. Co., case no. CIV SB 2121789. I invite the

  9   Court’s attention to page 7, paragraph 34, lines 6-7, which represents the sole

 10   reference to arson. That paragraph contains an email from the defendant’s adjustor

 11   which states “our investigation of this arson fire ins ongoing.” There is no allegation

 12   in the Complaint that the carrier. Indeed, the Complaint alleges (page 7, paragraph

 13   36, lines 13-14) that the carrier “continues to assert that it cannot accept or deny

 14   coverage since its investigation into the claims is allegedly still pending.”

 15         I declare the foregoing is true and correct under penalty of perjury under the

 16   laws of the United States of America. Executed on September 22, 2022 at Los

 17   Angeles, California.

 18
 19                                             /s/ JAY STATMAN

 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                 4
                        MOTION IN LIMINE #6 - REFERENCE TO BAD FAITH ACTION
